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        The foregoing submission has been electronically filed with the Court this 26th day of
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                                              FAEGRE DRINKER BIDDLE & REATH LLP


                                              Jessica L. Brennan
                                              600 Campus Drive
                                              Florham Park, New Jersey 07932-1047
                                              Telephone: (973) 549-7000
                                              Facsimile: (973)-360-9831
                                              E-mail: jessica.brennan@faegredrinker.com

                                              Attorneys for Defendant Johnson & Johnson
